
By order of September 12, 2017, the application for leave to appeal the September 13, 2016 judgment of the Court of Appeals was held in abeyance pending the decision in People v. Chatman (Docket No. 155184). On order of the Court, leave to appeal having been denied in Chatman on March 9, 2018, 501 Mich. 1011, 907 N.W.2d 600 (2018), the application is again considered and, it appearing to this Court that the case of People v. Swilley (Docket No. 154684), --- Mich. ----, 917 N.W.2d 405, 2018 WL 4691227 (2018) is pending on appeal before this Court and that the decision in that case may resolve an issue raised in the present application for leave to appeal, we ORDER that the application be held in ABEYANCE pending the decision in that case.
